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                                        goigtrade-acivanced--poirot




     Current Poirot/Marple model only use very limited features (exchange id, auction type, and bid
     bucket). In order to improve the Poirot surplus model quality, we plan to bring more features
     (e.g. query level features like domain URL, country, etc.) into the surplus model. The goal of this
     document is to propose a possible solution to this more complicated surplus model with query
     level features with TensorFlowi.- - - - - - - - - - - - - - - - - - - - - - - - - - -                 Commented [1]: Thanks Hao for thinking about this.




     Poirot (v1 __desiqn doc, v2__desiqn_doc)/Marple (desiqn doc) project aims to protect advertisers'
     interests by lowering their first bids to maximize advertiser surplus when participating in non-
     second price auctions in external exchanges. The challenge here is that we are not aware of the
     auction dynamics in external exchanges. As a result, it's difficult to determine the optimal
     amount of bid lowering without losing too much impressions.

     To resolve this issue, we use exploration experiments to figure out the auction dynamics in
     external exchanges by intentionally lowering the first bid to sorne predefined levels with bid
     multipliers. With the auction data collected from these exploration experiments, a quadratic
     model is trained between advertiser surplus and bid multipliers, and the optimal bid multipliers
     are chosen by maximizing the surplus using the quadratic model.

     The advantages of the current Poirot/Marple model are
        1. The current production model is small and simple, and it is easy to maintain and serve.
           Current production model only uses two features, exchange id and original first bid (in
           terms of bid bucket), plus auction type for Poirot model. With limited external exchanges
           we participate and number of bid buckets we choose, the number of feature
           combinations are relatively small, and the model can be easily served via dynamic files
           (which has size limitation that cannot support even mid-size models).
        2. The current production models are fast to train. The training job for these models usually
           take only a few minutes, which means we can quickly update the production model on a
           new day.

     These advantages must come with some drawbacks:




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        1. The model is small and simple, which means it may not have enough representation
           power to model the auction dynamics in external exchanges. As a result, we may get
           sub-optimal solutions.
        2. The current production model is difficult to scale. If we want to include more query
           features to make the model more complicated and representative, the model serving file
           will quickly blow up.
        3. Manual feature engineering is needed. We need to run experiments and do analysis to
           select good features to add into the model, which is time consuming and there is no
           guarantee that selected features are optimal.




     With the data and computation resources available at Google scale, it seems that the
     advantages of the current production models are not that attractive if we could significantly
     improve the model performance by having a larger and more complicated Poirot/Marple surplus
     model. Thus, we propose to include more query level features into the Poirot/Marple surplus
     models, and implement them with TensorFlow.


     TensorF!ow Background
     TensorFlow is not only for neural networks or deep learning. If you think neural networks as a
     function approximation to the underlying true function that generates the data, TensorFlow is
     just a tool to find the weights of the function approximator by solving the corresponding
     optimization problem. Thus, some traditional statistics model can also be trained with
     TensorFlow, e.g. linear regression, logistic regression, etc. Some core concepts in TensorFlow
     are tensor, operator, and computation graph. Generally speaking, tensors represents data,
     operators represents any operators conducted over tensors, e.g. add, matrix multiplication, etc.,
     and computation graph represents the model we would like to build.


     Proposed model




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     Infrastructure Support
     If we could have some preliminary results to show that the proposed model have significant
     improvement over the current simple surplus model in production, we can migrate our prototype
     implementation to AdBrain infrastructure where they have comprehensive support for neural
     network models at scale within Ads, e.g. data collection, data storage (Woodshed), model
     training, monitoring, model validation, and model serving (via SeaStar, probably JellyFish in the
     near future).




        1. Branch the current lingo pipeline to include more query features in the training data.
        2. Build a prototype of the proposed surplus model and verify the prototype model
           performance offline.




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